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          EXHIBIT A
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       T H E CONS T I T U T IONA L
       AC T OF DEN M A R K
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       THE CONSTITUTIONAL
       ACT OF DENMARK
       OF JUNE 5th 1953


       THE ACT OF SUCCESSION
       OF MARCH 27th 1953, AMENDED ON
       JUNE 12th 2009
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        The Constitutional Act of Denmark
        of June 5th 1953

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       THE CONSTITUTIONAL
       ACT OF DENMARK

       PART I

       §1
       This Constitutional Act shall apply to all parts of
       the Kingdom of Denmark.

       §2
       The form of government shall be that of a con-
       stitutional monarchy. Royal authority shall be in-
       herited by men and women in accordance with the
       provisions of the Act of Succession to the Throne
       of March 27th 1953.

       §3
       Legislative authority shall be vested in the King
       and the Folketing conjointly. Executive authority
       shall be vested in the King. Judicial authority shall
       be vested in the courts of justice.

       §4
       The Evangelical Lutheran Church shall be the
       Established Church of Denmark, and as such shall
       be supported by the State.
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        PART II

        §5
        The King shall not reign in other countries except
        with the consent of the Folketing.

        §6
        The King shall be a member of the Evangelical
        Lutheran Church.

        §7
        The King shall be of age when he has completed
        his eighteenth year. The same provision shall apply
        to the Heir to the Throne.

        §8
        The King shall, prior to his accession to the throne,
        make a solemn declaration in writing before the
        Council of State that he will faithfully observe
        the Constitutional Act. Two identical originals of
        the declaration shall be published, one of which
        shall be delivered to the Folketing to be kept in
        its archives, while the other shall be filed in the
        Public Record Office. When, because of absence
        or for other reasons, the King is unable to sign the
        aforesaid declaration immediately on his accession
        to the throne, government shall, unless otherwise
        provided by statute, be conducted by the Council
        of State until such a declaration has been signed.
        When the King has already, as Heir to the Throne,
        signed the aforesaid declaration, he shall accede to
        the throne as soon as it becomes vacant.
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       §9
       Provisions relating to the exercising of sovereign
       power in the event of the minority, illness, or
       absence of the King shall be laid down by statute.
       Should the throne become vacant and there be
       no Heir to the Throne, the Folketing shall elect a
       King and establish the future order of succession
       to the throne.

       § 10
       (1) The King’s Civil List shall be granted for the
       duration of his reign by statute. Such a statute
       shall also provide for the castles, palaces, and
       other State property which shall be placed at the
       disposal of the King for his use.

       (2) The Civil List shall not be chargeable with any
       debt.

       § 11
       Members of the Royal House may be granted
       annuities by statute. Such annuities shall not be
       enjoyed outside the Realm except with the consent
       of the Folketing.
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        PART III

        § 12
        Subject to the limitations laid down in this
        Constitutional Act, the King shall have supreme
        authority in all the affairs of the Realm, and shall
        exercise such supreme authority through the
        Ministers.

        § 13
        The King shall not be answerable for his actions;
        his person shall be sacrosanct. The Ministers shall
        be responsible for the conduct of government;
        their responsibility shall be defined by statute.

        § 14
        The King shall appoint and dismiss the Prime
        Minister and the other Ministers. He shall decide
        upon the number of Ministers and upon the
        distribution of the duties of government among
        them. The signature of the King to resolutions
        relating to legislation and government shall make
        such resolutions valid, provided that the signature
        of the King is accompanied by the signature or
        signatures of one or more Ministers. A Minister
        who has signed a resolution shall be responsible
        for the resolution.


        § 15
        (1) A Minister shall not remain in office after the
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       Folketing has passed a vote of no confidence in
       him.

       (2) When the Folketing passes a vote of no
       confidence in the Prime Minister, he shall ask for
       the dismissal of the Ministry unless writs are to be
       issued for a general election. When a vote of no
       confidence has been passed on a Ministry, or it has
       asked for its dismissal, it shall continue in office
       until a new Cabinet has been appointed. Ministers
       who remain in office as aforesaid shall perform
       only what may be necessary to ensure the
       uninterrupted conduct of official business.

       § 16
       Ministers may be impeached by the King or the
       Folketing for maladministration of office. The
       Court of Impeachment shall try cases of impeach-
       ment brought against Ministers for maladminis-
       tration of office.

       § 17
       (1) The body of Ministers shall form the Council
       of State, in which the Heir to the Throne shall
       have a seat when of age. The Council of State shall
       be presided over by the King except in the instance
       mentioned in Section 8, and in instances in which
       the legislature in pursuance of Section 9 may
       have delegated the conduct of government to the
       Council of State.
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        (2) All Bills and important government measures
        shall be discussed in the Council of State.

        § 18
        Should the King be prevented from holding a
        Council of State he may entrust the discussion
        of any matter to a Council of Ministers. Such
        a Council of Ministers shall consist of all the
        Ministers, and shall be presided over by the Prime
        Minister. The vote of each Minister shall be en-
        tered in a minute book, and any question shall be
        decided by a majority of votes. The Prime Minister
        shall submit the minutes, signed by the Ministers
        present, to the King, who shall decide whether he
        will immediately consent to the recommendations
        of the Council of Ministers, or have the matter
        brought before him in a Council of State.

        § 19
        (1) The King shall act on behalf of the Realm in
        international affairs, but, except with the consent
        of the Folketing, the King shall not undertake any
        act whereby the territory of the Realm shall be
        increased or reduced, nor shall he enter into any
        obligation the fulfilment of which requires the
        concurrence of the Folketing or which is otherwise
        of major importance; nor shall the King, except
        with the consent of the Folketing, denounce any
        international treaty entered into with the consent
        of the Folketing.
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        (2) Except for purposes of defence against an
        armed attack upon the Realm or Danish forces,
        the King shall not use military force against any
        foreign state without the consent of the Folketing.
        Any measure which the King may take in pur-
        suance of this provision shall forthwith be submitted
        to the Folketing. If the Folketing is not in session
        it shall be convened immediately.

        (3) The Folketing shall appoint from among its
        Members a Foreign Policy Committee, which the
        Government shall consult before making any deci-
        sion of major importance to foreign policy. Rules
        applying to the Foreign Policy Committee shall be
        laid down by statute.

        § 20
        (1) Powers vested in the authorities of the Realm
        under this Constitutional Act may, to such an
        extent as shall be provided by statute, be delegated
        to international authorities set up by mutual
        agreement with other states for the promotion of
        international rules of law and cooperation.

        (2) For the enactment of a Bill dealing with the
        above, a majority of five sixths of the Members of
        the Folketing shall be required. If this majority is
        not obtained, whereas the majority required for
        the passing of ordinary Bills is obtained, and if the
        Government maintains it, the Bill shall be submit-
        ted to the electorate for approval or rejection in
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         accordance with the rules for referenda laid down
         in Section 42.

         § 21
         The King may take the initiative to introduce Bills
         and other measures in the Folketing.

         § 22
         A Bill passed by the Folketing shall become law
         if it receives the Royal Assent no later than thirty
         days after it was finally passed. The King shall
         order the promulgation of statutes and shall ensure
         that they are carried into effect.

         § 23
         In an emergency the King may, when the Folke-
         ting cannot assemble, issue provisional laws,
         provided that they shall not be at variance with
         the Constitutional Act, and that they shall always,
         immediately on the assembling of the Folketing,
         be submitted to it for approval or rejection.


         § 24
         The King shall have the prerogative of mercy and
         of granting amnesty. The King may grant Min-
         isters a pardon for sentences passed upon them by
         the Court of Impeachment, subject to the consent
         of the Folketing.

         § 25
         The King may, either directly or through the
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        relevant government authorities, make such grants
        and grant such exemptions from the statutes as
        are either warranted under the rules which existed
        before June 5th 1849, or have been warranted by a
        statute passed since that date.

        § 26
        The King is entitled to have money minted as
        provided by statute.

        § 27
        (1) Rules governing the appointment of civil ser-
        vants shall be laid down by statute. No person shall
        be appointed a civil servant unless he be a Danish
        subject. Civil servants who are appointed by the
        King shall make a solemn declaration of loyalty to
        the Constitutional Act.
        (2) Rules governing the dismissal, transfer, and
        pensioning of civil servants shall be laid down by
        statute – cf. Section 64.

        (3) Civil servants appointed by the King shall be
        transferred without their consent provided that
        they do not suffer loss of income in respect
        of their posts or offices, and that they have been
        offered the choice of such transfer or retirement
        on pension under the general rules and regulations.
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         PART IV

         § 28
         The Folketing shall consist of one assembly of not
         more than one hundred and seventy-nine Mem-
         bers, of whom two Members shall be elected in
         the Faroe Islands and two Members in Greenland.

         § 29
         (1) Any Danish subject who is permanently domi-
         ciled in the Realm, and who has the age qualifica-
         tion for suffrage as provided for in Sub-section
         (2) of this Section shall have the right to vote at
         Folketing elections, provided that he has not been
         declared incapable of conducting his own affairs.
         It shall be laid down by statute to what extent con-
         viction and public assistance amounting to poor
         relief within the meaning of the law shall entail
         disenfranchisement.
         (2) The age qualification for suffrage shall be as
         determined by the referendum held under the Act
         dated March 25th 1953. Such age qualification for
         suffrage may be altered at any time by statute.
         A Bill passed by the Folketing for the purpose of
         such enactment shall receive the Royal Assent only
         when the provision for altering the age qualifica-
         tion for suffrage has been submitted to a referen-
         dum in accordance with Sub-section (5)
         of Section 42, and which has not resulted in the
         rejection of the provision.
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        § 30
        (1) Any person who is entitled to vote at Folketing
        elections shall be eligible for membership of the
        Folketing, unless he has been convicted of an act
        which in the eyes of the public makes him unwor-
        thy to be a Member of the Folketing.

        (2) Civil servants who are elected Members of the
        Folketing shall not require permission from the
        Government to accept election.

        § 31
        (1) The Members of the Folketing shall be elected
        by general and direct ballot.

        (2) Rules for the exercise of the suffrage shall be
        laid down by the Parliamentary Election Act of
        Denmark, which, to secure equal representation
        of the various opinions of the electorate, shall pre-
        scribe the manner of election and decide whether
        proportional representation shall be adopted with
        or without elections in single-member constituen-
        cies.

        (3) In determining the number of seats to be al-
        lotted to each area account shall be taken of the
        number of inhabitants, the number of electors, and
        the density of population.

        (4) The Parliamentary Election Act of Denmark
        shall provide rules governing the election of
        substitutes and their admission to the Folketing, as
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         well as rules for the procedure to be adopted where
         a new election is required.

         (5) Special rules for the representation of Green-
         land in the Folketing may be laid down by statute.

         § 32
         (1) The Members of the Folketing shall be elected
         for a period of four years.

         (2) The King may at any time issue writs for a
         new election, to the effect that the existing seats
         shall be vacated upon a new election, except that
         writs for an election shall not be issued after the
         appointment of a new Cabinet until the Prime
         Minister has appeared before the Folketing.


         (3) The Prime Minister shall cause a general elec-
         tion to be held before the expiration of the period
         for which the Folketing has been elected.

         (4) No seats shall be vacated until a new election
         has been held.

         (5) Special rules may be provided by statute for the
         commencement and termination of Faroese and
         Greenland representation in the Folketing.

         (6) If a Member of the Folketing becomes in-
         eligible his seat in the Folketing shall become vacant.
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        (7) On approval of his election each new Mem-
        ber shall make a solemn declaration that he will
        observe the Constitutional Act.

        § 33
        The Folketing shall itself determine the validity of
        the election of any Member and decide whether a
        Member has lost his eligibility or not.

        § 34
        The Folketing shall be inviolable. Any person who
        infringes its security or freedom, or any person
        who issues or obeys any command aimed thereat,
        shall be deemed guilty of high treason.


        PART V

        § 35
        (1) A newly elected Folketing shall assemble at
        twelve o’clock noon on the twelfth weekday after
        the day of election, unless the King has previously
        summoned a meeting of its Members.

        (2) Immediately after the proving of the mandates,
        the Folketing shall constitute itself by the election
        of a Speaker and Deputy Speakers.

        § 36
        (1) The sessional year of the Folketing shall begin on
        the first Tuesday of October, and shall continue until
        the first Tuesday of October of the following year.
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         (2) On the first day of the sessional year at twelve
         o’clock noon the Members shall assemble for a
         new session of the Folketing.

         § 37
         The Folketing shall meet in the place where the
         Government has its seat, except that in extraor-
         dinary circumstances the Folketing may assemble
         elsewhere in the Realm.

         § 38
         (1) At the first meeting in the sessional year, the
         Prime Minister shall render an account of the
         general state of the country and of the measures
         proposed by the Government.

         (2) Such an account shall be made the subject of a
         general debate.

         § 39
         The Speaker of the Folketing shall convene the
         meetings of the Folketing, stating the Order of the
         Day. The Speaker shall convene a meeting of the
         Folketing upon a request being made in writing by
         at least two fifths of the Members of the Folke-
         ting or the Prime Minister, stating the Order of
         the Day.

         § 40
         Ministers shall be entitled to attend the sittings of
         the Folketing ex officio and to address the Folke-
         ting during the debates as often as they may desire,
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        provided that they abide by the Standing Orders
        of the Folketing. They shall be entitled to vote only
        when they are Members of the Folketing.

        § 41
        (1) Any Member of the Folketing shall be entitled
        to introduce Bills and other measures.

        (2) No Bill shall be finally passed until it has been
        read three times in the Folketing.

        (3) Two fifths of the Members of the Folketing
        may request the Speaker to see to it that the third
        reading of a Bill does not take place until twelve
        weekdays after it has passed the second reading.
        The request shall be made in writing and signed
        by the Members making it. There shall be no such
        postponement in connection with Finance Bills,
        Supplementary Appropriation Bills, Provisional
        Appropriation Bills, Government Loan Bills,
        Naturalization Bills, Expropriation Bills, Indi-
        rect Taxation Bills, and, in emergencies, Bills the
        enactment of which cannot be postponed because
        of the intent of the Act.

        (4) In the case of a new election, and at the end
        of the sessional year, all Bills and other measures
        which have not been finally passed shall become
        void.

        § 42
        (1) When a Bill has been passed by the Folketing,
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         one third of the Members of the Folketing may,
         within three weekdays from the final passing of
         the Bill, request the Speaker to submit the Bill
         to a referendum. Such a request shall be made in
         writing and signed by the Members making the
         request.

         (2) Except in the instance mentioned in Sub-
         section (7), no Bill which may be submitted to a
         referendum (see Sub-section (6)), shall receive the
         Royal Assent before the expiration of the time
         limit stated in Sub-section (1), or before a referen-
         dum requested as aforesaid has taken place.

         (3) When a referendum on a Bill has been re-
         quested the Folketing may, within a period of five
         weekdays from the final passing of the Bill, resolve
         that the Bill shall be withdrawn.

         (4) When the Folketing has made no resolution
         in accordance with Sub-section (3), notice that
         the Bill is to be submitted to a referendum shall
         be given without delay to the Prime Minister, who
         shall then see to it that the Bill is published to-
         gether with a statement that a referendum is to be
         held. The referendum shall be held, in accordance
         with the Prime Minister´s decision, not less than
         twelve and not more than eighteen weekdays after
         the publication of the Bill.

         (5) At the referendum, votes shall be cast for
         or against the Bill. For the Bill to be rejected, a
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        majority of the electors who vote and not less than
        thirty per cent of all persons who are entitled to
        vote, shall have voted against the Bill.

        (6) Finance Bills, Supplementary Appropriation
        Bills, Provisional Appropriation Bills, Government
        Loan Bills, Civil Servants (Amendment) Bills,
        Salaries and Pensions Bills, Naturalization Bills,
        Expropriation Bills, Taxation (Direct and Indirect)
        Bills, as well as Bills introduced for the purpose
        of discharging existing treaty obligations shall
        not be decided by a referendum. This provision
        shall also apply to the Bills referred to in Sections
        9, 8,10, and 11, and to such resolutions
        as are provided for in Section 19, if existing in the
        form of a law, unless it has been prescribed by a
        special Act that such resolutions shall be submit-
        ted to a referendum. Amendments to the Con-
        stitutional Act shall be governed by the rules laid
        down in Section 88.

        (7) In an emergency a Bill which may be submit-
        ted to a referendum may receive the Royal Assent
        immediately after it has been passed, provided that
        the Bill contains a provision to this effect. When,
        under the rules of Sub-section (1), one third of
        the Members of the Folketing requests a referen-
        dum on the Bill or on the Act to which the Royal
        Assent has been given, such a referendum shall be
        held in accordance with the above rules. If the Act
        is rejected by the referendum an announcement
        to that effect shall be made by the Prime Minister
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         without undue delay, and no later than fourteen
         days after the referendum has been held. From
         the date of such an announcement the Act shall
         become ineffective.

         (8) Rules on referenda, including the extent to
         which referenda shall be held in the Faroe Islands
         and in Greenland, shall be laid down by statute.

         § 43
         No taxes shall be imposed, altered, or repealed
         except by statute; nor shall any man be conscripted
         or any public loan be raised except by statute.

         § 44
         (1) No alien shall be naturalized except by statute.

         (2) The extent of the right of aliens to become
         owners of real property shall be laid down by
         statute.

         § 45
         (1) A Finance Bill for the next fiscal year shall
         be submitted to the Folketing not later than four
         months before the beginning of such a fiscal year.

         (2) When it is expected that the reading of the
         Finance Bill for the next fiscal year will not be
         completed before the commencement of that fiscal
         year, a Provisional Appropriation Bill shall be laid
         before the Folketing.
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        § 46
        (1) Taxes shall not be levied until the Finance
        Act or a Provisional Appropriation Act has been
        passed by the Folketing.

        (2) No expenditure shall be defrayed unless
        provided for by the Finance Act passed by the
        Folketing, or by a Supplementary Appropriation
        Act, or by a Provisional Appropriation Act passed
        by the Folketing.

        § 47
        (1) The Public Accounts shall be submitted to
        the Folketing no later than six months after the
        expiration of the fiscal year.

        (2) The Folketing shall elect a number of auditors.
        Such auditors shall examine the annual Public
        Accounts and ensure that all the revenues of the
        State have been duly entered therein, and that no
        expenditure has been defrayed unless provided
        for by the Finance Act or some other Appropria-
        tion Act. The auditors shall be entitled to demand
        all necessary information, and shall have right of
        access to all necessary documents. Rules providing
        for the number of auditors and their duties shall
        be laid down by statute.

        (3) The Public Accounts, together with the Audi-
        tors’ Report, shall be submitted to the Folketing
        for its decision.
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         § 48
         The Folketing shall lay down its own rules of
         procedure, including rules governing its conduct of
         business and the maintenance of order.

         § 49
         The sittings of the Folketing shall be public, al-
         though the Speaker, or such a number of Members
         as may be provided for by the Standing Orders of
         the Folketing, or a Minister, shall be entitled to
         demand the removal of all unauthorized persons,
         whereupon it shall be decided without debate
         whether the matter shall be debated at a public or
         a secret session.

         § 50
         In order that a decision may be made, more than
         one half of the Members of the Folketing shall be
         present and take part in the voting.

         § 51
         The Folketing may appoint committees from
         among its Members to investigate matters of ge-
         neral importance. Such committees shall be entitled
         to demand written or oral information both from
         private citizens and from public authorities.

         § 52
         The election by the Folketing of Members to sit
         on committees and of Members to perform special
         duties shall be according to proportional represen-
         tation.
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        § 53
        With the consent of the Folketing, any Member
        thereof may submit for discussion any matter of
        public interest and request a statement thereon
        from the Ministers.

        § 54
        Petitions may be submitted to the Folketing only
        through one of its Members.

        § 55
        Statutory provision shall be made for the appoint-
        ment by the Folketing of one or two persons,
        who shall not be Members of the Folketing, to
        supervise the civil and military administration of
        the State.

        § 56
        The Members of the Folketing shall be bound
        solely by their own consciences and not by any
        directions given by their electors.

        § 57
        No Member of the Folketing shall be prosecuted
        or imprisoned in any manner whatsoever without
        the consent of the Folketing, unless he is taken in
        flagrante delicto. Outside the Folketing no Mem-
        ber shall be held liable for his utterances in the
        Folketing save by the consent of the Folketing.

        § 58
        The Members of the Folketing shall be paid such
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         remuneration as may be provided for in the Parlia-
         mentary Electoral Act of Denmark.


         PART VI

         § 59
         (1) The Court of Impeachment shall consist of up
         to fifteen of the senior ordinary members of the
         highest court of justice in the Realm (according to
         length of office) and an equal number of members
         elected for six years by the Folketing according to
         proportional representation. One or more sub-
         stitutes shall be elected for each elected member.
         No Member of the Folketing shall be elected a
         member of the Court of Impeachment, nor shall
         a Member of the Folketing act as a member of
         the Court of Impeachment. When, in a particu-
         lar instance, some of the members of the highest
         court of justice in the Realm are prevented from
         taking part in the trial of a case, an equal number
         of the members of the Court of Impeachment
         most recently elected by the Folketing shall resign
         their seats.

         (2) The Court of Impeachment shall elect a presi-
         dent from among its members.

         (3) When a case has been brought before the Court
         of Impeachment, the members elected by the Folke-
         ting shall retain their seats in the Court of Impeach-
         ment for the duration of such a case, even if the
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        period for which they were elected has expired.

        (4) Rules on the Court of Impeachment shall be
        provided by statute.

        § 60
        (1) The Court of Impeachment shall try such ac-
        tions as may be brought by the King or the Folke-
        ting against Ministers.

        (2) With the consent of the Folketing, the King
        may also have other persons tried before the Court
        of Impeachment for crimes which he may deem to
        be particularly dangerous to the State.

        § 61
        The exercise of judicial authority shall be governed
        only by statute. Extraordinary courts of justice
        with judicial authority shall not be established.

        § 62
        The administration of justice shall always remain
        independent of administrative authority. Rules to
        this effect shall be laid down by statute.

        § 63
        (1) The courts of justice shall be empowered to
        decide any question relating to the scope of the
        executive’s authority; though any person wishing
        to question such authority shall not, by taking the
        case to the courts of justice, avoid temporary com-
        pliance with orders given by the executive authority.
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         (2) Questions relating to the scope of the execu-
         tive’s authority may by statute be referred for deci-
         sion to one or more administrative courts, except
         that an appeal against the decision of the adminis-
         trative courts shall be referred to the highest court
         of the Realm. Rules governing this procedure shall
         be laid down by statute.

         § 64
         In the performance of their duties, the judges shall
         be governed solely by the law. Judges shall not be
         dismissed except by judgement, nor shall they be
         transferred against their will, except in cases in
         which a rearrangement of the courts of justice is
         made. A judge who has completed his sixty-fifth
         year may, however, be retired, but without loss of
         income up to the time when he is due for retire-
         ment on account of age.

         § 65
         (1) In the administration of justice all proceedings
         shall to the widest possible extent be public and
         oral.

         (2) Laymen shall participate in criminal proceed-
         ings. The cases and the form in which such partici-
         pation shall take place, including which cases shall
         be tried by jury, shall be provided for by statute.
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        PART VII

        § 66
        The constitution of the Established Church shall
        be laid down by statute.

        § 67
        Citizens shall be at liberty to form congregations
        for the worship of God in a manner which is in
        accordance with their convictions, provided that
        nothing contrary to good morals or public order
        shall be taught or done.

        § 68
        No one shall be liable to make personal contribu-
        tions to any denomination other than the one to
        which he adheres.

        § 69
        Rules on religious bodies dissenting from the
        Established Church shall be laid down by statute.


        § 70
        No person shall by reason of his creed or descent
        be deprived of access to the full enjoyment of civic
        and political rights, nor shall he escape compliance
        with any common civic duty for such reasons.
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         PART VIII

         § 71
         (1) Personal liberty shall be inviolable. No
         Danish subject shall, in any manner whatsoever, be
         deprived of his liberty because of his political or
         religious convictions or because of his descent.

         (2) A person shall be deprived of his liberty only
         when this is warranted by law.

         (3) Any person who is taken into custody shall be
         brought before a judge within twenty-four hours.
         When the person taken into custody cannot be
         released immediately, the judge shall decide, in an
         order to be given as soon as possible and at the
         latest within three days, stating the grounds,
         whether the person taken into custody shall be
         committed to prison; and in cases in which he can
         be released on bail, the judge shall also determine
         the nature and amount of such bail. This provision
         may be disregarded by statute as far as Green-
         land is concerned, if for local considerations such
         departure may be deemed necessary.

         (4) The pronouncement of the judge may be
         separately appealed against at once to a higher
         court of justice by the person concerned.

         (5) No person shall be remanded in custody for an
         offence which can involve only punishment by fine
         or simple detention.
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        (6) Outside criminal procedure, the legality of
        deprivation of liberty not executed by order of a
        judicial authority, and not warranted by legislation
        relating to aliens, shall at the request of the person
        so deprived of his liberty, or the request of any
        person acting on his behalf, be brought before the
        ordinary courts of justice or other judicial author-
        ity for decision. Rules governing this procedure
        shall be provided by statute.

        (7) The persons referred to in Sub-section (6)
        shall be under supervision by a board set up by the
        Folketing, to which board the persons concerned
        shall be permitted to apply.

        § 72
        The dwelling shall be inviolable. No house search,
        seizure, and examination of letters and other
        papers, or any breach of the secrecy that shall be
        observed in postal, telegraph, and telephone mat-
        ters, shall take place except under a judicial order,
        unless particular exception is warranted by statute.

        § 73
        (1) The right of property shall be inviolable. No
        person shall be ordered to surrender his property
        except when required in the public interest. It shall
        be done only as provided by statute and against
        full compensation.

        (2) When a Bill has been passed relating to the
        expropriation of property, one third of the Mem-
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         bers of the Folketing may, within three weekdays
         from the final passing of such a Bill, demand that
         it shall not be presented for the Royal Assent until
         new elections to the Folketing have been held and
         the Bill has again been passed by the Folketing
         assembling thereafter.

         (3) Any question of the legality of an act of expro-
         priation, and the amount of compensation, may be
         brought before the courts of justice. The hearing
         of issues relating to the amount of the compensa-
         tion may by statute be referred to courts of justice
         established for such a purpose.


         § 74
         Any restraint on the free and equal access to trade,
         which is not based on the interest of the general
         public, shall be abolished by statute.

         § 75
         (1) In order to advance the public interest, ef-
         forts shall be made to guarantee work for every
         able-bodied citizen on terms that will secure his
         existence.

         (2) Any person unable to support himself or his
         family shall, when no other person is responsible
         for his or their maintenance, be entitled to receive
         public assistance, provided that he shall comply
         with the obligations imposed by statute in such
         respect.
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        § 76
        All children of school age shall be entitled to free
        instruction in primary schools. Parents or guard-
        ians making their own arrangements for their
        children or wards to receive instruction equivalent
        to the general primary school standard shall not be
        obliged to have their children or wards taught in a
        publicly provided school.

        § 77
        Any person shall be at liberty to publish his ideas
        in print, in writing, and in speech, subject to his
        being held responsible in a court of law. Censor-
        ship and other preventive measures shall never
        again be introduced.

        § 78
        (1) Citizens shall, without previous permission, be
        free to form associations for any lawful purpose.

        (2) Associations employing violence, or aiming
        at the attainment of their object by violence, by
        instigation to violence, or by similar punishable
        influence on persons holding other views, shall be
        dissolved by court judgement.

        (3) No association shall be dissolved by any
        government measure; but an association may be
        temporarily prohibited, provided that immediate
        proceedings be taken for its dissolution.

        (4) Cases relating to the dissolution of political
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         associations may, without special permission, be
         brought before the Highest Court of Justice of the
         Realm.

         (5) The legal effects of the dissolution shall be
         determined by statute.

         § 79
         Citizens shall, without previous permission, be at
         liberty to assemble unarmed. The police shall be
         entitled to be present at public meetings. Open-air
         meetings may be prohibited when it is feared that
         they may constitute a danger to the public peace.

         § 80
         In the event of riots, the armed forces may only
         take action, if they are attacked, after the crowd
         has been called upon three times to disperse in the
         name of the King and the law and such a warning
         has gone unheeded.

         § 81
         Every male person able to bear arms shall be liable
         with his person to contribute to the defence of his
         country under such rules as are laid down by statute.

         § 82
         The right of municipalities to manage their own
         affairs independently, under State supervision,
         shall be laid down by statute.
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        § 83
        All legislative privileges attaching to nobility, title,
        and rank shall be abolished.

        § 84
        No fiefs, estates tail in land, or estates tail in
        personal property or family estates shall be created
        in future.

        § 85
        The provisions of Sections 71, 78, and 79 shall be
        applicable only to the armed forces, subject to such
        limitations as are consequential to the provisions
        of military laws.


        PART IX

        § 86
        The age qualification for local government elec-
        tors and congregational council electors shall be
        that applying at any time to Folketing electors. In
        respect of the Faroe Islands and Greenland, the
        age qualification for local government electors and
        congregational council electors shall be as may be
        provided for by statute, or determined in accord-
        ance with statute.

        § 87
        Citizens of Iceland who enjoy equal rights with
        citizens of Denmark under the Danish-Icelandic
        Union (Abolition) Act etc., shall continue to enjoy
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         the rights of Danish citizenship under the provi-
         sions of the Constitutional Act.


         PART X

         § 88
         Should the Folketing pass a Bill for the purposes
         of a new constitutional provision, and the Govern-
         ment wish to proceed with the matter, writs shall
         be issued for the election of Members of a new
         Folketing. If the Bill is passed unamended by the
         Folketing assembling after the election, the Bill
         shall, within six months after its final passing, be
         submitted to the electors for approval or rejec-
         tion by direct voting. Rules on this voting shall be
         laid down by statute. If a majority of the persons
         taking part in the voting, and at least 40 per cent
         of the electorate, have voted in favour of the Bill as
         passed by the Folketing, and if the Bill receives the
         Royal Assent, it shall form an integral part of the
         Constitutional Act.


         PART XI

         § 89
         This Constitutional Act shall come into force at
         once. However, the latest elected Rigsdag shall in
         accordance with the Constitutional Act of 1915,
         amended on September 10th 1920, remain in
         existence until a general election has been held in
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        accordance with the rules laid down in part IV.
        Until a general election has been held, the provi-
        sions laid down for the Rigsdag in the Constitu-
        tion of the Kingdom of Denmark Act of June 5th
        1915, as amended on September 10th 1920, shall
        remain in force.
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         THE ACT ON SUCCESSION
         TO THE THRONE OF THE
         KINGDOM OF DENMARK
         OF MARCH 27th 1953, AMENDED ON
         JUNE 12th 2009

         §1
         The throne shall be inherited by the descendants
         of King Christian X and Queen Alexandrine.

         §2
         (1) Upon the death of a King or a reigning Queen,
         the throne shall pass to his/her son or daughter,
         the elder child taking precedence over the younger
         child.

         (2) If one of the King’s or reigning Queen’s
         children has died, the issue of the deceased person
         shall take his/her place according to lineal descent
         and to the rules laid down in Sub-section 1.

         §3
         If a King or a reigning Queen dies without issue
         who is entitled to inherit the throne, the brother or
         sister of the King or reigning Queen shall succeed
         to the throne. If the King or the reigning Queen
         has several brothers or sisters or if some of their
         respective brothers or sisters have died, the rules
         laid down in Section 2 shall apply correspondingly.
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        §4
        If no person is entitled to succeed to the throne in
        accordance with the provisions laid down in Sec-
        tions 2 and 3, the throne shall pass to the nearest
        collateral descendants of King Christian X and
        Queen Alexandrine according to lineal descent,
        the elder person taking precedence over the
        younger in accordance with Sections 2 and 3.

        §5
        (1) Only children born in lawful wedlock are
        entitled to succeed to the throne.

        (2) The King or the reigning Queen shall not
        marry without the consent of the Folketing.

        (3) If a person who is entitled to succeed to the
        throne decides to marry without the King’s or
        reigning Queen’s consent which shall be given
        during a meeting of the Council of State, he/she
        forfeits his/her right to succeed to the throne and
        so do his/her children born in lawful wedlock and
        their issue.

        §6
        If a King or a reigning Queen decides to abdicate,
        the provisions in Sections 2-5 shall apply.

        §7
        This Act enters into force conjointly with the
        Constitutional Act of the Kingdom of Denmark
        of June 5th 1953.
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